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 7
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 8   KEDRIN E. VAN STEENWYK and
     ADELAIDA CELLARS, INC.
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10
11                          UNITED STATES DISTRICT COURT
12                        CENTRAL DISTRICT OF CALIFORNIA
13
14   MATTHEW D. VAN STEENWYK,                     Case No.: 2:20-cv-02375-FLA-AFM
     Individually, as Trustee and Beneficiary
15   of The Matthew Van Steenwyk Gst Trust        STIPULATION TO CONTINUE
     And The Matthew Van Steenwyk Issue           SETTLEMENT CONFERENCE
16   Trust, And As Co-Trustee Of The              DEADLINE
     Gretchen Marie Van Steenwyk-Marsh Gst
17   Trust And The Gretchen Marie Van
     Steenwyk-Marsh Issue Trust and
18   derivatively on behalf of Defendants
     APPLIED TECHNOLOGIES
19   ASSOCIATES, INC., and ATA
20   RANCHES, INC.,

21                       Plaintiff,

22                v.
23   KEDRIN E. VAN STEENWYK,
     Individually, as Successor Trustee of the
24   Donald H. Van Steenwyk and Elizabeth
     A. Van Steenwyk 1996 Revocable Trust;
25   PAMELA PIERCE, Individually; PHILIP
     GOBE, Individually; PHILIP
26   LONGORIO, Individually; GENE
     DUROCHER, Individually; JOSEPH
27   MCCOY, Individually; ELIZABETH A.
     VAN STEENWYK, Individually, and as
28   Original Trustee and as Beneficiary of the
     Donald H. Van Steenwyk and Elizabeth


         STIPULATION TO CONTINUE SETTLEMENT CONFEERENCE DEADLINE
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     A. Van Steenwyk 1996 Revocable Trust;
 1   ADELAIDA CELLARS, INC., a
     California Corporation; and DOES 1-25,
 2   Inclusive,
 3                     Defendants,
 4   and
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     APPLIED TECHNOLOGIES
 6   ASSOCIATES, INC., a California
     corporation; and ATA RANCHES, INC.,
 7   a Delaware corporation,
 8                     Nominal Defendants.
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           STIPULATION TO CONTINUE SETTLEMENT CONFEERENCE DEADLINE
 Case 2:20-cv-02375-FLA-AFM Document 291 Filed 06/29/22 Page 3 of 5 Page ID #:13256




 1         The Parties to this action, though their counsel of record, enter into the
 2   following stipulation:
 3         WHEREAS, the current deadline for the parties to complete a settlement
 4   conference pursuant the Court’s Order is June 30, 2022. (Dkt. No. 224.);
 5         WHEREAS, the parties have agreed to conduct a settlement conference before
 6   the Hon. Patrick J. Walsh, Ret.;
 7         WHEREAS, the earliest date for the settlement conference which is available
 8   for Judge Walsh, the parties and their counsel is July 19, 2022;
 9         THE PARTIES HEREBY STPULATE: (1) that the mediation in this action
10   shall proceed before the Hon Patrick J. Walsh on July 19, 2022; and (2) that the
11   deadline for completing the settlement conference in this matter shall be continued
12   to and including July 19, 2022.
13
14
                                             WINGET SPADAFORA &
15                                           SCHWARTZBERG LLP
16   Dated: June 29, 2021              By:    /s/ Richard P. Tricker
17                                           Timothy W. Fredricks
                                             Richard P. Tricker
18                                           Brenna J. McGill
19                                           Attorneys for Defendants
                                             KEDRIN E. VAN STEENWYK and
20                                           ADELAIDA CELLARS, INC.
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22
23
24                                           SPERTUS, LANDES & UMHOFER, LLP

25   Dated: June 29, 2021              By:    /s/ Diane Bang
                                             DIANE BANG, ESQ.
26
                                             Attorneys for Plaintiff
27                                           MATTHEW D. VAN STEENWYK
28


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           STIPULATION TO CONTINUE SETTLMENT CONFERENCE DEADLINE
 Case 2:20-cv-02375-FLA-AFM Document 291 Filed 06/29/22 Page 4 of 5 Page ID #:13257




 1
                                             O’HAGAN MEYER, LLC
 2
 3   Dated: June 29, 2021              By:    /s/ Johnny L. Antwiler
                                             Johnny L. Antwiler
 4
                                             Attorneys for Defendants Pamela Pierce,
 5                                           Philip Gobe, Philip Longorio, Gene
                                             Durocher, Daniel Carter, Joseph McCoy,
 6                                           Kieran Duggan, Applied Technologies
                                             Associates, Inc., Scientific Drilling
 7                                           International, Inc., and ATA Ranches, Inc.
 8
 9
10                 ATTESTATION PURSUANT TO LOCAL RULE 5-4.3.4
11         I, Richard P. Tricker, the filing attorney, attest that the other signatory on whose
12   behalf this filing is submitted concurs in the filing’s content and has authorized the
13   filing.
14
15                                           WINGET SPADAFORA &
16                                           SCHWARTZBERG LLP

17   Dated: June 29, 2021             By:     /s/ Richard P. Tricker
                                             Timothy W. Fredricks
18                                           Richard P. Tricker
                                             Brenna J. McGill
19
                                             Attorneys for Defendants
20                                           KEDRIN E. VAN STEENWYK and
                                             ADELAIDA CELLARS, INC.
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               STIPULATION TO CONTINUE SETTLMENT CONFERENCE DEADLINE
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 1                             CERTIFICATE OF SERVICE
 2         The undersigned certifies that STIPULATION TO CONTINUE
 3   SETTLEMENT CONFERENCE DEADLINE was filed electronically with the
 4   Clerk of the Court via the CM/ECF system which effects notification to all parties
 5   registered and designated for the CM/ECF system in this action. Participants in the
 6   case who are not registered CM/ECF users will be served by mail or by other
 7   means permitted by the court rules.
 8         I declare under penalty of perjury under the laws of the State of California
 9   that the foregoing is true and correct.
10         Executed on June 29, 2022 at Los Angeles, California.
11
12                                                 /s/Lluriviana Gil-Lopez
                                                    Lluriviana Gil-Lopez
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                                CERTIFICATE OF SERVICE
